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 7
                                    UNITED STATES DISTRICT COURT
 8
 9                              SOUTHERN DISTRICT OF CALIFORNIA

10
      STEPHEN BUSHANSKY,                               ) Case No. 20-cv-00113-WQH-AGS
11                                                     )
                       Plaintiff,                      )
12                                                     )
                                                       ) NOTICE OF VOLUNTARY
13            v.                                       ) DISMISSAL
                                                       )
14    INSTRUCTURE, INC., JOSH COATES,                  )
      DAN GOLDSMITH, STEVEN A.                         )
15    COLLINS, WILLIAM M. CONROY,                      )
      ELLEN LEVY, KEVIN THOMPSON, and                  )
16                                                     )
      LLOYD G. WATERHOUSE,                             )
17                                                     )
                       Defendants.                     )
18                                                     )
                                                       )
19                                                     )
                                                       )
20                                                     )

21          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),
22
     plaintiff Stephen Bushansky (“Plaintiff”) voluntarily dismisses the claims in the captioned action
23
     (the “Action”) with prejudice. Because this notice of dismissal is being filed with the Court before
24
     service by defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal
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26 of the Action is effective upon the filing of this notice.

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                                    NOTICE OF VOLUNTARY DISMISSAL
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 1 Dated: May 20, 2020              WEISSLAW LLP
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                         NOTICE OF VOLUNTARY DISMISSAL
